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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 11

    WOODBRIDGE GROUP OF COMPANIES, LLC,                               Case No. 17-12560 (BLS)
    et al.,1
                                                                      (Jointly Administered)
                               Remaining Debtors.

    MICHAEL GOLDBERG, as Liquidating Trustee                          Adv. Proc. Case Nos. (SEE EXHIBIT 1)
    of the Woodbridge Liquidation Trust, successor in
    interest to the estates of WOODBRIDGE GROUP
    OF COMPANIES, LLC, et al.,

                                       Plaintiff,

    v.

    (SEE EXHIBIT 1 ATTACHED HERETO),

                                       Defendants.

                                             AFFIDAVIT OF SERVICE

STATE OF NEW YORK                     )
                                      ) ss
COUNTY OF NASSAU                      )

I, Alison Moodie, being duly sworn, depose and state:

1.           I am a Senior Case Manager with Epiq Class Action & Claims Solutions, Inc.,2 the claims

and noticing agent in the above-captioned proceeding. Our business address is 1985 Marcus

Avenue, Suite 200, Lake Success, New York 11042-1013.




1
         The Remaining Debtors and the last four digits of their respective federal tax identification number are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
91423.

2
             Epiq Class Action & Claims Solutions, Inc. acquired Garden City Group, LLC on June 15, 2018.
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2.     On May 22, 2020, at the direction of Pachulski Stang Ziehl & Jones LLP (“Pachulski

Stang”), and Klee, Tuchin, Bogdanoff & Stern LLP (“Klee Tuchin”), Counsel to the Woodbridge

Liquidation Trust, I caused a true and correct copy of the Notice of Agenda of Matters Scheduled

for Hearing on May 27, 2020 at 10:30 A.M. (Prevailing Eastern Time) Before the Honorable

Brendan L. Shannon (“Notice of Hearing”) [Docket No. 4447] to be served by facsimile on the

parties identified on Exhibit A annexed hereto (Master Service List and Notice of Appearance

Parties with facsimile numbers), and by e-mail on the parties identified on Exhibit B annexed

hereto (Master Service List and Notice of Appearance Parties with e-mail addresses).3

3.     On May 22, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused a true

and correct copy of the Notice of Hearing to be served by e-mail on the parties identified on

Exhibit C (Affected Parties with e-mail addresses), by first class mail on the parties identified

on Exhibit D (Affected Parties with failed or without e-mail addresses) and by overnight on

the parties identified on Exhibit E (Affected Parties with failed or without e-mail addresses).4

4.     On May 26, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused a true

and correct copy of [Cancelled] Amended Notice of Agenda of Matters Scheduled for Hearing

on May 27, 2020 at 10:30 A.M. (Prevailing Eastern Time) Before the Honorable Brendan L.

Shannon (“ Amended Notice of Hearing”) [Docket No. 4451] to be served by facsimile on the

parties identified on Exhibit A annexed hereto (Master Service List and Notice of Appearance

Parties with facsimile numbers), and by e-mail on the parties identified on Exhibit B annexed

hereto (Master Service List and Notice of Appearance Parties with e-mail addresses).



3
       These parties include a Notice of Appearance party who has consented to email service only pursuant to
       Del. Bankr. L.R. 2002-1(d) and 5005-4.
4
       The envelopes used for service on the parties in Exhibit D & E included a legend which stated: “Important
       Legal Documents Enclosed: Please direct a copy of the contents of this envelope to the President,
       Managing or General Agent.”
                                                      2
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5.       On May 26, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused a true

and correct copy of the Amended Notice of Hearing to be served by e-mail on the parties

identified on Exhibit C (Affected Parties with failed or without e-mail addresses) and by first

class mail on the parties identified on Exhibit D (Affected Parties with failed or without e-

mail addresses) and by overnight on the parties identified on Exhibit E (Affected Parties with

failed or without e-mail addresses).




                                                      /s/ Alison Moodie
                                                      Alison Moodie
     Sworn to before me this
     28th day of May, 2020
     /s/ Cassandra Murray
     Notary Public, State of New York
     No. 01MU6220179
     Qualified in Queens County
     Commission Expires April 12, 2022




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Cary Baskin, Mary Baskin                                                                                             19-50297
Sal Di Mercurio 2003 Irrevocable Trust Dated 09/09/03, Sal Di Mercurio                                               19-50298
Thomas Furman                                                                                                        19-50299
Stefan Kolosenko                                                                                                     19-50301
Paul & Colleen McIntyre Joint Tenants with Rights of Survivorship                                                    19-50302
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Alexander S. Aduna, Emma R. Aduna                                                                                    19-50307
Sylvan R. Jutte, Jeannette E. Jutte                                                                                  19-50308
Brian D. Korkus, Robin L. Korkus                                                                                     19-50309
Russell Bullis, Betsy Bullis                                                                                         19-50310
Anne Manoogian, Edward Manoogian                                                                                     19-50311
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Jolene Bishop                                                                                                        19-50326
Jason Curtis                                                                                                         19-50327
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Joseph Lin                                                                                                           19-50334
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Laurence J. Nakasone                                                                                                 19-50337
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Jeff Schuster                                                                                                        19-50341
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Zhaoxia Zeng                                                                                                         19-50355
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Mainstar Trust, Custodian for the Benefit of Marie Podkowinski, Marie Podkowinski                                    19-50559
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Mainstar Trust, Custodian for the Benefit of Diana Sehl, Diana Sehl                                                  19-50564
Ascensus, LLC, Custodian for the Benefit of Donald L. Engle Jr. IRA, Donald L. Engle Jr.                             19-50566
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Mainstar Trust, Custodian for the Benefit of Daniel K. Gwinn, Daniel K. Gwinn                                        19-50571
Mainstar Trust, Custodian for the Benefit of Stephen Weinberg, Stephen Weinberg                                      19-50573
Ascensus, LLC, Custodian for the Benefit of Klenell Jensen Inherited IRA, Klenell Jensen                             19-50575
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IRA Services Trust Company, Custodian for the Benefit of Dwight L. Atherton IRA, Dwight L                            19-50581
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Tommy D. Trout, in his capacity as Trustee of the Tommy D. & Janet K. Trout Trust, Tommy D. Trout, Janet K. Trout          19-50734
Paul F. Happersett, in his capacity as Trustee of the Paul F. Happersett Revocable Living Trust                            19-50735
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Vicki L. Wickwire, in her capacity as Trustee of the Pauline A. Conley Irrevocable Trust, Pauline A.                       19-50738
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Michael Reszewski, in his capacity as Trustee of the Reszewski Revocable Living Trust Dated                                19-50739
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Sumner Abramson, in his capacity as Trustee of the Sumner Abramson Revocable Living Trust,                                 19-50740
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Anthony Arthur Meola Jr., in his capacity as Trustee of the Anthony Arthur Meola Jr. 2008 Trust,                           19-50741
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Nanci Braun, in her capacity as Trustee of the Nanci Braun Revocable Living Trust Date 06/21/10, Nanci Braun               19-50742
Bonnie Gae Grieff, in her capacity as Trustee of the Bonnie Gae Grieff Family Trust dates                                  19-50743
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Terry B. Griffin, in his capacity as Trustee of the Griffin Family Trust, Terry B. Griffin                                 19-50744
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Jr.
IRA Services Trust Company, Custodian For The Benefit of Vicki Andren IRA, Vicki Andren                                        19-50813
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Peter Greenberg                                                                                                                19-50855
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Kathy Hagen, in her Capacity as Trustee to the Kathy A. Hagen Declaration of Trust Dated March                                            19-50869
2, 1998, Kathy Hagen
Mary J. Happersett, in her Capacity as Trustee of the Mary J. Happersett Revocable Living Trust                                           19-50870
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Judith L. Werner, in her Capacity as Trustee of the Werner Family Living Trust 03/02/00, Michael                                          19-50871
P. Werner, in his Capacity as Trustee of the Werner Family Living Trust 03/02/00, Judith L. Werner, Michael P. Werner
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Helgeson Family Trust, James Helgeson, in his capacity as Trustee of the Helgeson Family Trust
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